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                    THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA                    HON. JEROME B. SIMANDLE

               v.                           Criminal No. 03-354 (JBS)

  WILLIAM OSCAR HARRIS, a/k/a
  Oscaro El Hari Bey,                                    OPINION

               Defendant.


 APPEARANCES:

 Christopher J. Christie
 UNITED STATES ATTORNEY
 By: Norman Joel Gross,
      Assistant United States Attorney
 401 Market Street, 4th Floor
 Camden, New Jersey 08101

 Edward F. Borden, Jr., Esq.
 EARP COHN, PC
 20 Brace Road
 4th Floor
 Cherry Hill, NJ 08034
      Attorney for Defendant William Oscar Harris

 SIMANDLE, District Judge:

       This matter is before the Court upon Mr. Harris’ motion

 [Docket Item 511] requesting that the Court terminate its April

 22, 2004 Order (the “April 2004 Order”) holding him in civil

 contempt.    As the Court explains in greater detail below, the

 Court issued an order in August 2003 (the “August 2003 Order”)

 enjoining Mr. Harris from sending documents purporting to create

 liens or other financial interests to this Court, its employees,

 employees of the United States Department of Justice (“DOJ”), and

 other persons associated with his criminal case.            After Mr.
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 Harris continued to send such financially threatening documents,

 the Court found him in civil contempt of its August 2003 Order

 and ordered that he be confined until he agreed to cease sending

 such documents.    Since the entry of the April 2004 Order (see

 [Docket Item 192]), Mr. Harris has persisted in violating the

 August 2003 Order, continuing to send prohibited documents to the

 undersigned, numerous judicial officers of this Court, employees

 of the DOJ, and others connected with this criminal case,

 contrary to the August 2003 Order.            Despite his continued

 noncompliance with the August 2003 Order, Mr. Harris now moves

 the Court to terminate its April 2004 contempt citation and his

 continuing confinement for civil contempt.                  For the reasons

 explained below, the Court will deny Mr. Harris’ motion.

 I.    BACKGROUND

       On May 6, 2003, Mr. Harris and eight other individuals were

 indicted on charges of having produced and conspiring to produce

 fraudulent money orders purporting to be issued by the United

 States Department of Transportation and the United States

 Department of the Treasury [Docket Item 1].                  As the Court

 explained in detail in its April 2004 Opinion [Docket Item 193],

 after the filing of the indictment, Mr. Harris and several of his

 co-defendants began sending fraudulent financial security

 arrangements, contracts, and other financially threatening

 documents to, inter alia, the undersigned, numerous judicial


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 officers and employees of this Court, and employees of the DOJ.

 To address Mr. Harris’ and his co-defendants’ harassing conduct,

 which was designed to disrupt this forum, the Court entered an

 Order on August 27, 2003 enjoining Mr. Harris and his co-

 defendants from

       sending any written communications to this Court, to any
       judicial officer or employee of this Court, to the United
       States Attorney, to any Assistant United States Attorney,
       to any employee or officer of the United States
       Department of Justice, or to any attorney appearing in
       this case, whether in an official or allegedly “private”
       capacity:

       (1) Which attempts       to   create       a   lien    or   financial
       interest; or

       (2) Which purports to state a contract with such
       recipient regarding any civil or commercial matter . . .

 August 2003 Order [Docket Item 107].             The Order further enjoined

 Mr. Harris and his co-defendants from “creating affidavits of

 debt or UCC Financing Statements . . . based upon the

 abovedescribed security agreements or contracts or liens however

 entitled.”    Id.

       After it was brought to the Court’s attention that Mr.

 Harris continued to send the very sort of documents prohibited by

 the August 2003 Order, the Court convened a hearing in April

 2004, at which the Government presented evidence establishing

 that, notwithstanding the August 2003 Order, Mr. Harris’




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 harassing conduct had continued.1           In its April 2004 Opinion and

 Order, the Court found that Government had proven by clear and

 convincing evidence that Mr. Harris was in contempt of the August

 2003 Order.    The Court found that “a coercive remedy [was] needed

 to curtail the continuing effect of these documents, and to

 prevent future creation of such documents by or on behalf of

 these defendants in violation of the Court’s Order,” and ordered

 that Mr. Harris “stand committed to the custody of the United

 States Marshal until he purges the contempt by signing an

 affidavit that the documents . . . are null and void, and that he

 will not participate in the creation of similar documents in the

 future.”   April 2004 Opinion [Docket Item 193].

       On July 2, 2004, Mr. Harris was found guilty of producing

 and conspiring to produce fraudulent money orders, and was

 sentenced on October 22, 2004 to a term of imprisonment of 188

 months, which was to run consecutively to his confinement under

 the Contempt Order [Docket Item 380].             Although several of Mr.

 Harris’ co-defendants have since ceased their contumacious

 mailings, and thus their civil contempt orders have been lifted

 so that they have begun to serve their prison sentences, Mr.

 Harris has not, to date, purged his contempt.               Instead, he has

 persisted in sending to the same persons the same sorts of


       1
         The April 2004 Order also adjudged several of Mr. Harris’
 co-defendants in contempt of the Court’s prohibition on sending
 financially threatening documents.

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 financially threatening documents that the August 2003 Order

 proscribed, despite his continuing confinement.                In 2007, for

 example, Mr. Harris sent the undersigned no fewer than nine

 documents ranging from invoices, to notices of interest charges

 on previously billed sums, to a notice of perfection of a claim

 agreement.2   The purpose of such documents, which bear phony

 indicia of actual contracts or perfected liens against persons

 connected with this case, is to create an appearance of the

 personal indebtedness of the recipients to Mr. Harris, as if some

 competent tribunal has declared such debts due and owing to Mr.

 Harris.   Such documents have been used by Mr. Harris and his co-

 defendants in the past to create false UCC filings with county

 clerks or state officials against the recipients, or to serve as

 the basis for petitioning to place recipients into involuntary

 bankruptcy due to unpaid “debts” in the millions of dollars.

 Indeed, within the past year, Congress has recognized the problem

 of creation of such false lien claims against judicial officers

 and other governmental employees and has criminalized such

 conduct in the Court Security Improvement Act of 2007, codified

 at 18 U.S.C. § 1521.




       2
         Copies of these documents from 2006 through January 2008
 were indexed at the hearing on February 6, 2008, and counsel and
 Mr. Harris inspected these documents. There was no dispute that
 they violated the terms of the August 2003 Order.

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       Notwithstanding his persistent noncompliance with the terms

 of the August 2003 Order, Mr. Harris now moves the Court to

 terminate his contempt citation.           On December 18, 2007, Mr.

 Harris filed a petition, ostensibly pursuant to Federal Rule of

 Civil Procedure 60(b), to vacate his contempt citation [Docket

 Item 511].    On January 2, 2008, the Court re-appointed attorney

 Edward Borden, Jr. to represent Mr. Harris in this matter [Docket

 Item 515], and counsel for Mr. Harris and the Government have

 since filed submissions addressing the issues raised in Mr.

 Harris’ petition.

       On February 6, 2008, the Court convened a hearing at which

 it afforded Mr. Harris and the Government the opportunity to

 present evidence and arguments as to whether the contempt

 citation should be terminated.         At the hearing, counsel for Mr.

 Harris conceded that Mr. Harris has not yet brought himself into

 compliance with the August 2003 Order and did not dispute the

 Government’s contention that Mr. Harris is capable of so

 complying.    Mr. Harris also spoke to challenge this Court’s

 jurisdiction over him and over the federal crimes of which he has

 been convicted.3    Also at the hearing, the parties and the Court


       3
         The matter of this Court’s jurisdiction over persons such
 as Mr. Harris who are accused of committing federal crimes in
 this district was addressed on numerous occasions. It remains a
 frivolous argument, since Congress has conferred upon this
 District Court and its Article III judges the power to adjudicate
 federal criminal offenses alleged by the United States, see 18
 U.S.C. § 3231.

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 recognized that if Mr. Harris were simply to desist from his

 contumacious conduct – even if he did not file a certification or

 an affidavit attesting to his compliance – it would be possible

 to find that the Contempt Order would serve no further purpose

 and that it could be dissolved, but Mr. Harris has, as yet, given

 no indication that he intends to cease his mailings of false and

 threatening lien claims.      The Court reserved decision as to Mr.

 Harris’ motion.

 II.   DISCUSSION

       As the Court recognized in its December 18, 2007 Order

 [Docket Item 512], it has jurisdiction to review its civil

 contempt order, notwithstanding the fact that Mr. Harris has

 appealed from his judgment of conviction and his appeal is

 pending before the Third Circuit (Appeal No. 04-4115).                  As the

 Court explained,

       [t]his Court’s review while Harris’s criminal appeal is
       pending may not extend to the criminal appeal itself,
       since the filing of the appeal from this Court’s final
       judgment   of   conviction  divested   this  Court   of
       jurisdiction regarding the criminal conviction.     The
       authority to re-examine the basis for ongoing civil
       contempt, on the other hand, is inherent in this Court
       and   the   Defendant-Contemnor  has    the  continuing
       opportunity to purge his civil contempt or to seek
       dissolution of the civil contempt order, even if the
       contempt order is also under appeal.

 December 2007 Order n.1.      The Court has jurisdiction to review

 its own contempt citation under the All Writs Act, which provides

 in relevant part that “all courts established by Act of Congress


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 may issue all writs necessary or appropriate in aid of their

 respective jurisdictions and agreeable to the usages and

 principles of law.”     28 U.S.C. § 1651(a).

       Mr. Harris, citing Judge Sotomayor’s concurring opinion in

 Armstrong v. Guccione, 470 F.3d 89, 113-15 (2d Cir. 2006), argues

 that when it becomes apparent that a coercive contempt order is

 no longer fulfilling its purpose, due process requires that a

 civil contempt citation be reviewed and terminated, even if the

 contemnor has not purged the contempt.             Mr. Harris argues that

 the eighteen-month maximum confinement period specified by the

 Recalcitrant Witness Statute,4 28 U.S.C. § 1826(a), “while not

 strictly determinative in a case not strictly within its terms,

 represent[s] a ‘presumptive benchmark’ for the maximum length of




       4
         Mr. Harris cites as an alternative approach to the
 question of when a coercive contempt sanction becomes punitive
 the statement by the Court of Appeals for the Fifth Circuit in
 Petroleos Mexicanos v. Crawford Enter., Inc. that “[i]f the civil
 contempt proceeding is coercive in nature, the general rule is
 that it is mooted when the proceeding out of which it arises is
 terminated.” 826 F.2d 492, 400 (5th Cir. 1987). In the passage
 quoted by Mr. Harris, the court cites Shillitani v. United
 States, 384 U.S. 364, 371 (1966), as authority. Shillitani
 stands for a more limited proposition than the expansive language
 quoted by Mr. Harris suggests, in that the Supreme Court simply
 held that “[w]here the grand jury has been finally discharged, a
 contumacious witness can no longer be confined since he then has
 no further opportunity to purge himself of contempt.” 384 U.S.
 at 371. The language quoted by Mr. Harris thus does not
 represent an alternative approach, but at most stands for the
 same proposition as the concurring opinion in Guccione – that the
 Court should analogize Mr. Harris’ situation to that of a
 recalcitrant grand jury witness.

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 a civil contempt term.”      (Def.’s Br. 2-3) (citing Guccione, 470

 F.3d at 113-14).

       The Government argues that because Mr. Harris is able to

 comply with the terms of the August 2003 Order, but has simply

 elected not to do so, the Court should not dissolve its contempt

 citation.    The Government refers the Court to the decision of the

 Court of Appeals for the Third Circuit in Chadwick v. Janecka,

 312 F.3d 597, 608 (3d Cir. 2002), noting that the court there

 held that where the contemnor “has the present ability to comply

 with the . . . order,” id. at 612, there “is no federal

 constitutional bar to [his] indefinite confinement for civil

 contempt so long as he retains the ability to comply with the

 order . . .”    Id. at 608.    As for Judge Sotomayor’s concurring

 opinion in Guccione, the Government argues that the majority

 opinion in that case not only criticized Judge Sotomayor’s

 analogy to the Recalcitrant Witness Statute to a case where the

 contemnor was not a witness, but also rejected the notion that

 “there is no practical difference between one who is incapable of

 complying and one who simply chooses not to do so.”                 Guccione,

 470 F.3d at 108, 111 n.9.      Given that Mr. Harris is able to bring

 himself into compliance with the August 2003 Order by simply

 ceasing the contumacious conduct, but has declined to do so, the

 Government argues that Mr. Harris’ motion to terminate the

 contempt citation should be denied.


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       The Court will deny Mr. Harris’ motion to dissolve his

  contempt citation.     As the Court of Appeals recognized in

  Chadwick, “[t]he Supreme Court has never endorsed the proposition

  that confinement for civil contempt must cease when there is no

  substantial likelihood of compliance.”5          312 F.3d at 613

  (internal quotations omitted).        Rather, as the Chadwick court

  noted, in Int’l Union, United Mine Workers of America v. Bagwell

  512 U.S. 821, 828 (1994), the Supreme Court recognized that

  indefinite detention until the contemnor complies with a court

  order is the “paradigmatic coercive, civil contempt sanction.”

       Chadwick and Guccione teach that in the civil contempt

  context, there is a critical distinction between, on the one

  hand, a noncompliant contemnor who is unable to comply with a

  court order, and, on the other, one who persists in defying a

  court order notwithstanding his capacity to comply.             See

  Chadwick, 312 F.3d at 609; Guccione, 470 F.3d at 111 n.9 (noting

  that “the point of Maggio[ v. Zeitz, 333 U.S. 56 (1948)] and



       5
          The Court recognizes that in Chadwick, the Court of
  Appeals’ analysis centered around whether the “state court’s
  decision was contrary to, or involved an unreasonable application
  of, clearly established Federal law, as determined by the Supreme
  Court of the United States,” under 28 U.S.C. § 2254(d).
  Chadwick, 312 F.3d at 606-07 (quoting 28 U.S.C. § 2254(d)). The
  jurisdictional posture in Chadwick necessarily confined the
  analysis to assessing “clearly established Federal law, as
  determined by the Supreme Court,” id., to which the Court’s
  analysis in this case is not limited. Nonetheless, the Court
  looks to Chadwick for guidance regarding Mr. Harris’ motion to
  terminate his contempt sentence.

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  Chadwick is precisely that there is a crucial difference between

  one who is capable of complying and refuses to do so and one who

  is not capable of complying”).         Like both Chadwick and Guccione,

  there is no reason in this case to doubt Mr. Harris’ capacity to

  bring himself into compliance with the Court’s Order – Mr.

  Harris’ attorney conceded at the February 6, 2008 hearing that

  there was no basis to question Mr. Harris’ understanding of the

  August 2003 Order or his ability to comply with its terms.

  Indeed, at the hearing, the Court suggested to Mr. Harris that he

  need not submit a formal affidavit withdrawing his previous

  mailings, but may instead bring himself into compliance simply by

  ceasing from affirmatively sending out new documents; this is a

  simple task, compliance with which is certainly not outside Mr.

  Harris’ capacity.      Mr. Harris has refused to acknowledge the

  command of the Court’s Order or to even attempt to comply.

       The Court does not find convincing Mr. Harris’ effort to

  analogize the circumstances in this case to the eighteen-month

  maximum confinement period imposed by the Recalcitrant Witness

  Statute, 28 U.S.C. § 1826(a).         First, section 1826(a) “was

  carefully drafted to apply to one particular category of

  contemnor: A witness who refuses without just cause shown to

  comply with an order of the court to testify or provide other

  information.”    Guccione, 470 F.3d at 112 (quoting 28 U.S.C. §

  1826(a)) (internal quotations omitted).          Additionally, the type


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  of contumacious conduct exhibited by a recalcitrant witness is

  different in kind from the conduct Mr. Harris persists in

  pursuing.   A recalcitrant witness’ conduct, though contumacious,

  is passive – it consists of inaction in the face of a court order

  to testify.   Mr. Harris’ conduct, by contrast, is affirmative –

  he has actively taken steps to mail threatening, fraudulent

  documents to persons involved in this case in repeated defiance

  of the Court’s orders.     The Court is not persuaded that “the

  class of contemnors for which Congress established the

  eighteen-month ceiling,” id., was intended to include

  affirmatively defiant contemnors such as Mr. Harris.              Every day

  of his non-compliance and his escalating pattern of contumacious

  and financially threatening conduct is another opportunity to

  inflict personal financial harm upon governmental employees and

  others involved in this criminal case.          When such phony

  “indebtedness” has been memorialized in UCC filings with county

  or state authorities in the past in this case, it has been

  necessary to go to court to request that such UCC liens be set

  aside, involving considerable burden to the targets of this

  harassment.

       The Court has considered whether the contempt order should

  be dissolved because it has not proved sufficient to deter Mr.

  Harris’ disruptive conduct.      It can be argued that if a contempt

  order cannot serve its deterrent function, it should be dissolved


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  lest it become punitive.     Certainly the Court recognizes that Mr.

  Harris has made a tragic choice to go out of his way to prepare

  and sign and send a continuing and escalating stream of threats,

  all calculated to disrupt the forum and to cause financial harm

  to the recipients.     He has demonstrated that he has no intention

  of complying with this Court’s lawful orders.            It would be a

  bizarre result, however, to dissolve a lawful order of this Court

  merely because the contemnor persists in violating it through his

  continuing affirmative acts.      Unlike the situation of a

  recalcitrant witness, whose passive silence continues over time,

  Mr. Harris is an active contemnor whose non-compliance consists

  of continuing affirmative acts of harm and attempted harm to

  others.   In this situation, the fact that almost four years have

  elapsed without Mr. Harris ceasing his gross misconduct is not

  evidence for lifting the order; it is instead a demonstration

  that the order remains necessary until Mr. Harris decides to stop

  his unlawful conduct.     The Court will terminate the contempt

  order just as soon as Mr. Harris affirmatively signals his

  compliance.

       Because Mr. Harris continues to defy the clear requirements

  of the August 2003 Order, and because the Court finds no basis to

  terminate the civil contempt sentence of a contemnor who is able,

  but simply unwilling, to comply with its order, Mr. Harris’

  motion will be denied.


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  III. CONCLUSION

       For the reasons discussed above, the Court will deny Mr.

  Harris’ motion to terminate his civil contempt confinement.               The

  accompanying Order will be entered.




  February 20, 2008                           s/ Jerome B. Simandle
  Date                                       JEROME B. SIMANDLE
                                             United States District Judge




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